Docket Case:
       Entries 4:13-cv-01097-TIA
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                    I3SL-AC13686                  -   GLENN MOSS V ALLIANCEONE RECEIVABLES MANAGEMENT
                                                                    IN (E-CASE)
                        Partses&        Docket            esiudgments                           igs iiIed                          iT
       I   Header       Attorney:       Entries         & Sentences             Information     flue Hearing: I Tnal:              Judgments   Executwn
                                            This information is provided as a service arid is not considered an official court record.
                                                                Sort Date Entries Q Descending                               Display Options All Entries
                                                                                  Ascending

05/2912013                Hearing Scheduled
                              Scheduled For: 06/26/2013; 9:00AM; JOSEPH SHOCKLEE DUEKER; St Louis County

05/28/2013                Hearing Continued/Rescheduled
                              Hearing Continued From: 06/05/2013; 9:00AM Hearing

05/09/2013                Summons Issued-Associate
                          Document ID: 13-ADSM-12681, for ALLIANCEONE RECEIVABLES MANAGEMENT INC.
                          Hearing Scheduled
                            Associated Entries: 05/28/2013 Hearing Continued/Rescheduled
                                                                           -


                            Scheduled For: 06/05/2013; 9:00AM; JOSEPH SHOCKLEE DUEKER; St Louis County

04/2212013                Summ Req-Assc Pers Serv
                          Request for Appointment of Special Process Server Filed.
                          Judge Assigned
                          DIV 43W
                          Confid Filing Info Sheet Filed
                          Pet Filed in Associate Ct
Casenet Version 5,13.2.2                                                       Return to Top of Page                                           Released 12/14/2012




                                                                                                                                                  EXHIBIT A
https ://www.courts,mo .gov/casenet/cases/searchDockets,do                                                                                           6/11/2013
                                           _________(n ame)____
                                                     ___________________________________

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                     1N THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI
 /

 Judge or Division:                                                     Case Number: 13SL-AC13686
 JOSEPH SHOCKLEE DUEKER
 PlaintifU’Petitioner:                                                 Plaintiff’s/Petitioner’s Attorney/Address:
 GLENN MOSS                                                            JAMES WINDSOR EASON
                                                                       EASON & VOYTAS, LLC
                                                                       ONE NORTH TAYLOR AVE.
                                                                       ST. LOUIS, MO 63108
                                                                vs.    (314)932-1066
 Defendant/Respondent:              Date, Time and Location of Court Appearance:
 ALLIANCEONE RECEIVABLES MANAGEMENT 05-JUN2013, 09:00 AM
 INC                                                                    DIVISION 43W
 Nature of Suit:                                                        ST LOUIS COUNTY COURT BUILDING
 AC Breach of Contract                                                  7900 CARONDELET AVE
                                                                        CLAYTON, MO 63105                                               (Date Filc Stamp)

                                                           Associate Division Summons
     The State of Missoun to: ALLIANCEONE RECEIVABLES MANAGEMENT INC
                              Alias:
 120 SOUTH CENTRAL AVE
 CT CORPORATION SYSTEM
 CLAYTON, MO 63105

                                         You arc summoned to appear before this court on the date, time, and location above to answer the attached petition.
            COURT SEAL OF           If you fail to do so, judgment by default will be taken against you for the relief demanded in the petition. You may be
                                    permitted to file certain responsive pleadings, pursuant to Chapter 517 RSMo. Should you have arty questions regarding
                                    responsive pleadings in this case, you should consult an attorney.
                                         If you have a disability requiring special assistance for your court appearance, please contact the court at least 48
                                    hours in advance of scheduled hearing.


       ST. LOUIS COUNTY
                                         Further Information:         AMH
                                                                  Sheriff’s or Server’s Return
     Note to serving officer: Service must not be made less than ten days nor more than sixty days from the date the Defendant/Respondent is to
                                 appear in court.
       I certify that I have served the above summons by: (check one)
        fJ  delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
            leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with’
                                                                       a person of the Defendant’s/Respondent’s family over the age of 15 years.
        J   (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                                                                                                                                                          (title).
              other_________________________________________________________________________
      Served    at
                                                                                                                                                 -   (address)
       in                                         (County/City of St. Louis), MO, on                            (date) at                        —    (time).

                         Printed Name of Sheriff or Server                                               Signature of Sheriff or Server
                                       Must be sworn before a notary public if not served by an authorized officer:
                                       Subscribed and sworn to before me on                                              (date).
                (Seal)
                                      My commission expires:
                                                                               Date                                         Notary Public
      SheriWs Fees, If applicable
      Summons                     $________________




     Non EsI                      $_______________




     Sheriff’s Deputy Salary
     Supplemental Surcharge $10.00
      Mileage                   S_________________ L__milcs @ $                per mile)
                                                                            .________




     Total                        $____________




     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of suits,
     see Supreme Court Rule 54


OSCA (799) SM2O (ADSM) For Court Use Only: Document lD# 13.ADSM-1 2681                    I of                                                       5l7,G41 RSMo
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                                     IN THE CIRCUIT COURT
                                        ST. LOUIS COUNTY
                                       STATE OF MISSOURI
                                      ASSOCIATE DIVISION

GLENN MOSS

Plaintiff,

V.                                                    )      Case No.

ALLIANCEONE RECEIVABLES
MANGEMENT, INC.
                                                             Division
Defendant.

Serve Defendant at:
C T Corporation System
120 South Central Ave.
Clayton, MO 63105                                     )
                                             PETITION

         COMES NOW, Plaintiff, Glenn Moss, and for his Petition states as follows:

                                         INTRODUCTION

         1.     This is an action for statutory damages brought by an individual consumer for

violations of the Fair Debt Collections Practices Act, 15 USC 1692 et. Seq. (“FDCPA”) and for

Defendant’s violations of the Telephone Consumer Protection Act of 1991 (“TCPA”), 47 USC

227 et, seq.

                                             JURISDICTION

         2.     This Court has jurisdiction of the FDCPA claim under 15 USC 1692k(d).

         3.     This Court has jurisdiction of the TCPA claim under 47 USC 227 (3)(b).

         4.     Plaintiff never agreed to arbitrate any disputes with Defendant.

         5.     Defendant and Plaintiffs original creditor are independent contractors and

Defendant has no ability to enforce any arbitration agreement that may exist between Plaintiff

and her original creditor.


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                                                    PARTIES

         6.       Plaintiff is a natural person currently residing in St. Louis County, Missouri.

Plaintiff is a “consumer” within the meaning of the FDCPA. The alleged debt Plaintiff owes

arises out of consumer, family, and household transactions.

         7.       Defendant is a foreign corporation with its principal place of business in Trevose,

PA. The principal business purpose of Defendant is the collection of debts in Missouri and

nationwide, and Defendant regularly attempts to collect debts alleged to be due another,

         8.       Defendant is engaged in the collection of debts from consumers using the mail

and telephone, Defendant is “debt collectors” as defined by the FDCPA.

                                                     FACTS

         9.       Defendant called Plaintiff at least ten times since April 1, 2013 attempting to

collect an alleged consumer debt.

         10.      Plaintiff never provided permission or otherwise authorized Defendant to call his

cellular phone.

         11.      Since April 2013, Plaintiff received several phone calls from an automatic

telephone dialing system, as defined by 47 USC 227(a)(1), with various incoming phone

numbers. Those phone calls were made to Plaintiff’s cellular phone without Plaintiff’s prior

express consent.

         12.      Defendant is not allowed to harass Plaintiff in their collection attempts.

         13,      Defendant is not allowed to intimidate Plaintiff in their collection attempts.

         14.      Defendant is not allowed to violate the FDCPA in their collection attempts with

the Plaintiff,

         15.      Defendant is not allowed to call Plaintiff on his cell phone without prior express

consent.



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         16.     Defendant is not allowed to violate the TCPA in their phone communications with

the Plaintiff.

         17.     Defendant began collection activity with Plaintiff in April 2013. The collection

activity consisted of numerous calls made to Plaintiff.

         18.     To the best of Plaintiffs knowledge, he has not received any written

correspondence from Defendant.

         19.     On April 18, 2013, Plaintiff contacted Defendant to get more information

regarding the phone calls received and to request those calls cease.

         20.     During the call, Defendant told Plaintiff his debt was approximately $3,000 from a

credit card issued to Plaintiff.

         21.     Plaintiff asked Defendant to send him written correspondence regarding the debt

and the amount owed.

         22.     Plaintiff also requested Defendant cease all phone communication.

         23.     During the call, Defendant’s employee stated he was going to note Plaintiff’s file

as a refusal to pay because Plaintiff did not want to set up a payment plan at that time.

         24.     Plaintiff asked Defendant how they obtained his cell phone number.

         25.     Defendant stated he didn’t know how Plaintiff’s cell phone number was obtained

and that was “A good question.”

         26.     To the best of Plaintiff’s knowledge, this call occurred within the statutory dispute

I verification period as per 15 U.S.C. 1692g.

         27.     During the call, Plaintiff was constantly talked over and not listened to by the

Defendant.

         28.     Defendant’s overly aggressive tactics overshadowed Plaintiff’s rights pursuant to

§1692g.

         29.     Plaintiff felt intimidated by the Defendant’s telephone conduct of April 18.

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         30.     Plaintiff felt harassed by the Defendant’s constant phone calls.

         31      Defendant’s conduct demonstrated towards Plaintiff was done to collect a debt

from Plaintiff by any means necessary.

         32.     Plaintiff has experienced, sleeplessness, mental anguish, embarrassment and

worry as a result of Defendant’s actions.

                 COUNT I: VIOLATIONS OF FAIR DEBT COLLECTION PRACTICES ACT

         33.     Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

         34.     In its attempts to collect the alleged debt from Plaintiff, Defendant has committed

violations of the FDCPA, 15 Usc 1692 et. seq., including, but not limited to, the following:

         a.      Using unfair or unconscionable means to collect or attempt to collect the alleged

debt. 15USC1692f.

         b.      Engaging in conduct that the natural consequence of which is to harass, oppress,

or abuse Plaintiff in connection with the collection of a debt. 15 USC   §   1692d.

         c.      Overshadowing Plaintiff’s dispute, validation, and verification rights. 15 USC    §
1692g.

         d.      Refusing to honor Plaintiffs timely validation request. 15 Usc       §   1692g.

         WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant for:

         A.      Judgment that Defendant’s conduct violated the FDCPA:

         B.      Actual damages;

         C.      Release of the alleged debt:

         D.      Statutory damages, costs and reasonable attorney’s fees pursuant to 15 USC

         1692(k): and

         E.      For such other relief as the Court may deem just and proper.



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                                   COUNT II: VIOLATION OF THE TCPA

       35.       Plaintiff re-alleges and incorporates by reference all of the above paragraphs.

       36.       In its attempts to collect the alleged debt from Plaintiff, Defendant has committed

violations of the TCPA, 47   usc 227 at. seq., including, but not limited to, the following:
       a.        By placing several non-emergency phone calls to Plaintiffs cellular phone without

       express authorized consent of the Plaintiff, causing Plaintiff to be charged for incoming

       calls. 47 Usc 227(b) (1) (A) (iii).

       WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant for:

       F.        Declaratory judgment that Defendant’s conduct violated the TCPA;

       G.        Actual damages;

       H.        Statutory damages pursuant to 47 USC (b)(3); and

                 For such other relief as the Court may deem just and proper.



                                               THE EASON LAW FIRM, LLC



                                                      %
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                                               One North Taylor Avenue
                                               St. Louis, Missouri 63108
                                               Phone: (314) 932-1066
                                               Fax:    (314) 667-3161
                                               Email: james.w.easongmaiLcom




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